             Case MDL No. 3114 Document 1 Filed 04/02/24 Page 1 of 2




                                BEFORE THE UNITED STATES
                       JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


 IN RE AT&T DATA BREACH                             MDL DOCKET NO.: _____
 LITIGATION


PLAINTIFF ALEC PETROSKI’S MOTION FOR TRANSFER AND CENTRALIZATION
OF RELATED ACTIONS TO THE NORTHERN DISTRICT OF TEXAS PURSUANT TO
       28 U.S.C. § 1407 FOR CONSOLIDATED PRETRIAL PROCEEDINGS

       Alex Petroski, Plaintiff in the case styled Petroski v. AT&T, Inc., Case No. 3:24-cv-

00757, in the United States District Court for the Northern District of Texas, Dallas Division,

hereby moves for an order transferring the civil actions listed in the Schedule of Actions

filed concurrently herewith to the Northern District of Texas, Dallas Division, pursuant to 28

U.S.C. § 1407 for coordinated or consolidated pretrial proceedings.

       For the reasons set forth herein and in his accompanying Memorandum in Support,

Plaintiff respectfully requests the Panel issue an order transferring the twelve actions listed in

the accompanying Schedule of Actions, as well as any tag-along cases subsequently filed

involving similar facts or claims, to the Northern District of Texas, Dallas Division, for

coordinated or consolidated pretrial proceedings.



Dated: April 2, 2024                                 Respectfully submitted,


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Case MDL No. 3114 Document 1 Filed 04/02/24 Page 2 of 2




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